                                                              United States Bankruptcy Court
                                                                    District of Oregon
Huffman,
      Plaintiff                                                                                                        Adv. Proc. No. 22-06018-dwh
The Now Corporation,
      Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 0979-6                                                  User: Admin.                                                                Page 1 of 1
Date Rcvd: Sep 08, 2022                                               Form ID: pdf018                                                            Total Noticed: 3
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Sep 10, 2022:
Recip ID                 Recipient Name and Address
intp                   + The Now Corporation, c/o Resident Agents of Nevada, Inc. (RA), 711 S Carson St #4, Carson City, NV 89701-5292
dft                    + The Now Corporation, c/o Ken Williams, President, 711 S. Carson St. Suite 4, Carson City, NV 89701-5292

TOTAL: 2

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
ust                    + Email/Text: ustpregion18.eg.ecf@usdoj.gov
                                                                                        Sep 08 2022 22:55:00      US Trustee, Eugene, 405 E 8th Ave #1100,
                                                                                                                  Eugene, OR 97401-2728

TOTAL: 1


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Sep 10, 2022                                            Signature:           /s/Gustava Winters




                                             Case 22-06018-dwh                    Doc 9         Filed 09/10/22
                                                                                      DISTRICT OF OREGON
                                                                                           FILED
                                                                                        September 08, 2022
                                                                                  Clerk, U.S. Bankruptcy Court



       Below is an order of the court.

       The court finds that defendant has impliedly consented to this court's entry of final judgment by
       failing to appear.




                                                                  _______________________________________
                                                                             DAVID W. HERCHER
                                                                            U.S. Bankruptcy Judge



                              UNITED STATES BANKRUPTCY COURT

                                  FOR THE DISTRICT OF OREGON

    In re                                                 Case No. 21-61582-dwh7

    Kent Strickler
                                  Debtor,

    Jeanne E. Huffman, Trustee,                           Adv. No. 22-06018-dwh

                                   Plaintiff,             ORDER OF DEFAULT AND FINDING
                                                          OF CORE PROCEEDING
            v.

    The Now Corporation, a Nevada Corporation,
                                   Defendant.



                   This action is a core proceeding as defined by 28 U.S.C. § 157(b)(2)(A), (E), and

    (O). As a core proceeding, the Bankruptcy Court may make a final determination of this action.

                   This matter is before the Court on the Motion for Order of Default filed by

    Plaintiff chapter 7 trustee Jeanne E. Huffman and accompanying Declaration of Jeanne E.

    Huffman (Dkt. No. 5). It appears to the Court from the records on file that Defendant The Now


Page 1 of 2 –    ORDER FOR DEFAULT AND FINDING OF CORE                               LEONARD LAW GROUP LLC
                                                                               4110 SE Hawthorne Blvd, PMB #506
                 PROCEEDING                                                           Portland, Oregon 97214-5246
                                                                                                   leonard-law.com




                              Case 22-06018-dwh            Doc 9      Filed 09/10/22
    Corporation (“Defendant”) was served with copies of the Complaint (Dkt. No. 1) and

    Adversary Proceeding Summons (Dkt. No. 2), by serving copies of the same on Defendant at 711

    S. Carson St., Suite 4, Carson City, NV 89701, and its Registered Agent, also at 711 S. Carson St.,

    Suite 4, Carson City, NV 89701. Defendant failed to answer or otherwise appear in this action in

    the time allowed by law pursuant to FRBP 7012(a), and the Trustee has satisfied the

    requirements of LBR 9021-1.

                    IT IS HEREBY ORDERED that Defendant The Now Corporation is in default.


                                                   ###

    Presented by:
    LEONARD LAW GROUP LLC

    By: /s/ Timothy A. Solomon
        Timothy A. Solomon, OSB #072573
          Direct: 971.634.0194
          Email: tsolomon@LLG-LLC.com
                 Counsel for Jeanne E. Huffman, Ch. 7 Trustee
    cc:     ECF recipients

            Defendant (via first-class mail):

            The Now Corporation,
            c/o Ken Williams, President
            711 S. Carson St., Suite 4
            Carson City, NV 89701

            Registered Agent of Defendant (via first-class mail):

            The Now Corporation,
            c/o Resident Agents of Nevada, Inc. (Registered Agent)
            711 S. Carson St., Suite 4
            Carson City, NV 8970




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